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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                             United States Courts
                                                              for the                                       Southern District of Texas
                                                                                                                     FILED
                                                   Southern District of Texas
                                                                                                               November 13, 2023
                  United States of America                       )                                      Nathan Ochsner, Clerk of Court
                             v.                                  )
                       Clinton Harnden
                                                                 )      Case No. 4:23-mj-2048
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of         January 6 to November 11, 2023       in the county of                Brazos              in the
     Southern          District of            Texas          , the defendant(s) violated:

            Code Section                                                   Offense Description

18 USC 2252A(a)(2)(B)                          Receipt of Child Pornography
18 USC 2252A(a)(5)(B)                          Possession of Child Pornography




         This criminal complaint is based on these facts:
See Attached




         ✔ Continued on the attached sheet.
         u


                                                                                            Complainant’s signature

                                                                                     Dimitri Willis, FBI Special Agent
                                                                                             Printed name and title

Sworn to WHOHSKRQLFDOO\.


Date: November 13, 2023
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City and state:                         Houston, Texas                           Yvonne Y. Ho, U.S    gistra e Judge
                                                                                               U.S. Magistrate
                                                                                             Printed
                                                                                             P i t d name and
                                                                                                            d titl
                                                                                                              title
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

             AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

Comes now your affiant, Special Agent Dimitri L. Willis, being duly sworn, depose and state:
                  INTRODUCTION AND AGENT BACKGROUND

   1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and federal
law enforcement officer within the meaning of Rule 41(h), Federal Rules of Criminal
Procedure, and have been since January 2016. I am authorized by Rule 41(a), Federal Rules of
Criminal Procedure to make application for search and seizure warrants and to serve arrest
warrants pursuant to Rule 4(a) and (d)(1), Federal Rules of Criminal Procedure. I am currently
assigned to the Houston, Texas Division of the FBI, Bryan Resident Agency, where I conduct
a variety of investigations dealing with violent crimes. I received law enforcement training at
the FBI Academy in Quantico, Virginia. Portions of my duties are dedicated to investigating
cases involving violent crimes against children. Since becoming a Special Agent, I have
investigated and worked with experienced Special Agents who also investigate child
exploitation offenses. In the performance of my duties, I have investigated and assisted in the
investigation of matters involving the possession, collection, production, advertisement,
receipt, and transportation of images of child pornography. I have been involved in searches
pertaining to the possession, collection, production, and transportation of child pornography
through either the execution of search warrants or through the subject providing written
consent to permit a search. I have investigated and assisted in the investigation of criminal
matters involving the sexual exploitation of children that constituted violations of Title 18,
United States Code, Section 2252A, as well as Texas state statutes which criminalize the
production, possession, receipt, and transmission of child pornography, that is, visual images
depicting minors engaged in sexually explicit conduct.
   2.      The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. Because this affidavit
is being submitted for the limited purpose of establishing probable cause to show CLINTON
HARNDEN (HARNDEN), committed the below-described offense. I have not included every
detail of the investigation. Additionally, unless otherwise indicated, all statement contained in
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this Affidavit are summaries in substance and in part. The following is true to the best of my
knowledge.
                                  PROBABLE CAUSE
   3.      Based on the facts as set forth in this affidavit, there is probable cause to believe
that the information described below will show HARNDEN knowingly received and possessed
child pornography in violation of Title 18, United States Code, Section 2252A.
   4.      The facts and circumstances alleged in this affidavit occurred within the Southern
District of Texas.
   5.      On or about November 8, 2023, a search warrant was executed at the residence of
SARAH CHADWICK (CHADWICK), 11 Concord Road, Pontiac, Michigan. CHADWICK
was arrested on charges related to the possession and distribution of child sexual abuse material
(CSAM). During a post arrest interview, CHADWICK disclosed that she regularly chatted
with an individual now identified as HARNDEN on Whatsapp.
   6.      A search of CHADWICK’s cell phone revealed that she sent a significant amount
of CSAM to HARNDEN using Whatsapp. CHADWICK’s telephone number was 248-513-
5599. CHADWICK communicated with HARNDEN on Whatsapp using HARNDEN’s
mobile telephone number, 979-595-4843. HARNDEN and CHADWICK’s conversations on
Whatapp started around January 6, 2023 and ended about November 6, 2023, shortly before
CHADWICK was arrested. Below is a screenshot from CHADWICK’s Whatsapp showing she
and HARNDEN were the participants of this conversation.




   7.      Open-source records showed that 979-595-4843 was a telephone number that
belonged to HARNDEN. Additional open-source research revealed that HARNDEN was
married to SANDRA HARNDEN, née STENGELE (SANDRA). A review of HARNDEN’s
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and SANDRA’s Texas Driver’s License records showed that HARNDEN and SANDRA listed
each other as emergency contacts. The emergency telephone number provided by SANDRA
for HARNDEN was 979-595-4843. Both HARNDEN and SANDRA provided 1213
Harrisonburg Lane, College Station, Texas 77845 (1213 Harrisonburg) as a home address. In
the late afternoon of November 10, 2023, FBI agents surveilled 1213 Harrisonburg and saw
HARNDEN and SANDRA returning to the home. HARNDEN and SANDRA appear to have
a minor daughter that resides with them. Below is a picture of SANDRA and the minor female
after they returned to the home and right before they left again.




   8.      A further review of the chat between CHADWICK and HARNDEN showed that
HARNDEN possibly worked at Texas A&M University (TAMU). CHADWICK figured out
that HARNDEN was affiliated with TAMU by a ring HARNDEN wore in a picture sent to
CHADWICK in the chat. Open-source research revealed an individual named CLINTON
HARNDEN was employed by TAMU. A Linkedin page showed that HARNDEN was
employed by TAMU as a Senior Administrative Coordinator.
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   9.    A search of a publicly available TAMU website showed that HARNDEN was
employed by TAMU.




   10.   Further records check with TAMU revealed that HARNDEN was currently
employed by TAMU and was last paid by TAMU on November 1, 2023. HARNDEN’s listed
address with TAMU was 1213 Harrisonburg Lane, College Station, Texas 77845.
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HARNDEN’s telephone number provided to TAMU was 979-595-4843. HARNDEN had two
vehicles associated with his TAMU account. A black Ford F-150, Texas license plate PSN6042
and a white Chevy 4 door, Texas license plate DD1W990. Agents saw the black Ford truck
arrive at 1213 Harrisonburg in the late afternoon of November 10, 2023, and a man that
resembled the known pictures of HARNDEN got out and went into the house.




   11.    Selfie images shared in the chat between HARNDEN and CHADWICK were
compared to known photos of HARNDEN, and they appear to be the same person.
   12.    FBI Special Agents reviewed the CSAM shared by CHADWICK with HARNDEN
over Whatsapp. There were multiple images of CSAM shared within the chat. FBI Special
Agents were able to confirm the CSAM contained images that met the federal definition of
child pornography. CHADWICK shared multiple images of CSAM with HARNDEN on or
about January 24, 2023. CHADWICK sought HARNDEN’s thoughts on the CSAM material.
CHADWICK and HARNDEN used the term “pizza” to talk about CSAM during this
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interaction. I know from my training and experience that “pizza” and/or “cheese pizza” is a
known slang/code-word used by individuals to discuss CSAM in public forums without
detection. After sharing the CSAM, CHADWICK asked HARNDEN if he thought she was
horrible because of all the “pizza.” HARNDEN replied that “Pizza is one of my favorite foods.”
   13.        A further review of CHADWICK’s and HARNDEN’s chat revealed that
HARNDEN engaged in self-pleasure around a female in his home. HARNDEN described
rubbing his penis against this person’s mouth and feet, and masturbating behind this person
and a friend into a tissue while the female and friend were watching TV on the couch. During
CHADWICK’S interview with Agents, CHADWICK disclosed that HARNDEN revealed he
liked to masturbate on his daughter.
   14.        A further review of the chat between CHADWICK and HARNDEN revealed
multiple images that contained CSAM. Below are descriptions of a few of the images that were
reviewed by Agents:
         a.    IMG-0831: “The Jazz Guide” instructs individuals how to have sexual intercourse
              with female children in the following age ranges: 2 years of age; 3-4 years of age;
              5-6 years of age; and around 9 years of age. The guide breaks down the difference
              between vaginal sex and anal sex with children this age. The guide recommends
              whether to use fingers, sexual objects, or a male’s penis for intercourse. The guide
              also provides a recommended duration of intercourse with the child. The guide
              illustrates ten minor females ranging from age of 2-9 years of age who are naked
              with the focal point of the image being the genitals. Eight of the images depict the
              minor females being penetrated by an adult male penis. The remaining two photos
              depict minor female genitals in unnatural poses.
         b. IMG-0302: The prepubescent female appears to be approximately between 6 and 9
              years of age. The prepubescent female is laying on her back in an unnatural pose,
              and her vagina is exposed as the focal point of the image.
         c. IMG-0925 WA0010: An adult male utilized his penis to orally penetrate an infant
              child’s mouth. The infant child appears to be no older than a year.
   15.        On November 11, 2023, a search warrant was authorized by U.S. Magistrate Judge
Yvonne Y. Ho for the property at 1213 Harrisonburg. Special Agents executed the warrant on
November 11, 2023.
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   16.     During the execution of the search warrant, agents encountered HARNDEN at 1213
Harrisonburg. HARNDEN was read his Miranda warnings and agreed to an interview with
agents.
   17.     HARNDEN stated that he lived at 1213 Harrisonburg with SANDRA and his eight-
year-old daughter. HARNDEN also stated that his telephone number was 979-595-4843 for
approximately the last seven or eight years.
   18.     HARNDEN admitted that he used Whatapp to communicate with a woman he
believed was named “TILLY” (TILLY) for approximately one year. A review of the Whatsapp
chat between CHADWICK and HARNDEN revealed that CHADWICK told HARNDEN her
name was “TILLY.”
   19.     HARNDEN stated the woman known to him as TILLY (CHADWICK) would send
him batches of CSAM every few months. Using his daughter’s age as a reference, HARNDEN
stated that some of the children in the CSAM were less than eight years old. The children in
the CSAM that were younger than eight years old were penetrated by the penis of adult males.
HARNDEN admitted that he knew it was 100% wrong for an adult male to have sex with a
child that age.
   20.     CHADWICK told HARNDEN she had an interest in CSAM. HARNDEN did not
ask CHADWICK to stop sending him CSAM or end the text relationship with her. Instead,
HARNDEN accepted all the CSAM that CHADWICK sent him. Additionally, HARNDEN
would provide positive feedback about the CSAM to please CHADWICK and to continue the
relationship with CHADWICK.
   21.     HARNDEN originally met CHADWICK on Tumblr. Tumblr is a microblogging
and social networking website. HARNDEN stated his username on Tumblr was
“ATXAGGIE2007”.
   22.      Agents reviewed HARNDEN’s “ATXAGGIE2007” Tumblr page. The page was
filled with posts and responses about pornographic material, including CSAM. One post by
HARNDEN on Tumblr asked “Anyone give out free pizza today.” As stated before, I know
from my training and experience that “pizza” and/or “cheese pizza” is a known slang/code-
word used by individuals to refer to CSAM.
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   23.     HARNDEN also chatted with a woman named “MONICA” on Snapchat. Snapchat
is an instant messaging app and service where one of the principal features is that pictures and
messages are usually only available for a short time before they become inaccessible to their
recipients. MONICA liked role playing, CSAM, incest, and pedophilia role play. MONICA
sent CSAM images to HARNDEN on Snapchat.
   24.     MONICA also instructed HARNDEN to join Wickr. Wickr is an instant messenger
application service that allowed users to exchange end-to-end encrypted and content-expiring
messages. Wickr users can also create groups where up to 500 individuals can be added to
exchange messages, images, and videos.
   25.     After HARNDEN joined Wickr, he was added to a group named “Moms”. Moms
was a Wickr group dedicated to sharing CSAM images of boys and girls aged 7-8 years old
and up. CSAM was constantly shared in the Moms group. HARNDEN would have 20 to 30
new messages from the group every time he logged into Wickr. HARNDEN did not remove
himself from the Moms group.
   26.     HARNDEN described some of the children in the CSAM shared in the Moms group
as being of Eastern European or Indian descent based on their looks. Some of the children in
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the CSAM videos spoke Spanish. HARNDEN was not sure if the children that spoke Spanish
were from Spain or Latin America. HARNDEN knew how the children looked and spoke in
the CSAM videos because he viewed the CSAM after receiving it.
   27.     On one or two occasions, HARNDEN masturbated in his daughter’s room while
his daughter was in bed sleeping. This happened on nights HARNDEN communicated with
MONICA about CSAM and incest pedophilia role playing. MONICA and HARNDEN role
played committing extreme, aggressive, and violent acts with his daughter. MONICA liked to
demean HARNDEN’s daughter by calling her degrading names like cunt and slut. HARNDEN
recalled that at some point, MONICA sent a picture or said something that led HARNDEN to
masturbate next to his daughter’s bed while his daughter was sleeping in the bed.
   28.     HARNDEN downloaded pornography that he viewed on different websites and
applications onto his cellphone. This possibly included CSAM that he received and viewed,
but HARNDEN could not remember exactly if or how much would be in the secure folder of
his cell phone.
   29.     Based on a review of the information in this case and based on my knowledge and
experience with violent crimes against children, I, as your Affiant, have probable cause to
believe that CLINTON HARNDEN did knowingly commit the offense of receiving and
possessing child pornography in violation of Title 18, United States Code Section
2252(A)(a)(2) and 2252A(a)(5)(B).
                                                Respectfully Submitted,


                                                ____________________________________
                                                Dimitri L. Willis, Special Agent
                                                Federal Bureau of Investigation


   Sworn to me by telephone this 13th
                                 ___ day of November, 2023, and I find probable cau
                                                                                cause.


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